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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff,
v. Case No. 21-cr-40/TNM
TRISTAN CHANDLER STEVENS,

Defendant.

/
WAIVER OF APPEARANCE

The defendant, TRISTAN CHANDLER STEVENS, pursuant to Rule 43 of the
Federal Rules of Criminal Procedure, waives his right to be present at the February 4,
2022, status conference.

Mr. Stevens understands the government’s plea offer in this case. He discussed
the plea offer at length with counsel well in advance of the plea offer’s January 21, 2022,
expitation date. As indicated by his signature below, Mr. Stevens rejects the

government’s plea offer.

ZL Date: [- 2-2

TRISTAN STEVENS

a“
ee Date: 2 — \ _ LZ

LAUREN COBB
Attorney for Tristan Stevens

 

 

 
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CERTIFICATE OF SERVICE
I hereby certify that on 2-\~&7, I will electronically file the foregoing
pleading with the Clerk of the Court using the CM/ECF system, which will then send
a notification of such filing (NEF) to all counsel of record.

/s/ Lauren Cobb
LAUREN COBB
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Attorney for Defendant
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